               Case 23-11131-TMH        Doc 1197      Filed 01/23/24     Page 1 of 7




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


 In re:                                                    Chapter 11

 AMYRIS, INC., et al.,                                     Case No. 23-11131 (TMH)

                                Debtors.                   (Jointly Administered)



               SUPPLEMENTAL DECLARATION OF GLENN F. OSTRAGER
          IN SUPPORT OF THE OBJECTION OF ANDREW E. ROTH, AN AMYRIS
                SHAREHOLDER, TO CONFIRMATION OF THE DEBTORS’
             SECOND/THIRD AMENDED JOINT PLAN OF REORGANIZATION

          GLENN F. OSTRAGER, hereby declares under penalty of perjury, pursuant to the

provisions of 28 U.S.C. § 1746, as follows:

          1.    I am an attorney at law duly admitted to practice in the State of New York. I have

personal knowledge of the facts set forth herein and, if called upon to do so, I could and would

testify competently to the contents of this declaration. I make this declaration in support of the

Objection by Andrew E. Roth, a shareholder of Amyris, Inc., to confirmation of the Debtors’

Second and Third Amended Joint Plans of Reorganization.

          2.    I am a partner with the law firm of Ostrager Chong Flaherty and Broitman P.C.

(“OCFB”) and maintain an office for the practice of law at 437 Madison Avenue, 24th Floor, New

York, New York 10022-7035.

          3.    I was admitted pro hac vice to this Court on August 24, 2023.

          4.    Attached hereto as Exhibit 3 is a true and correct copy the Complaint (Doc. No.

1) filed on June 4, 2021 with the U.S. District Court for the Northern District of California in the

case captioned Andrew E. Roth v. Foris Ventures, LLC et al, No. 21-cv-04288-YGR (the “Foris

Action”).
             Case 23-11131-TMH          Doc 1197      Filed 01/23/24     Page 2 of 7




       5.      Attached hereto as Exhibit 4 is a true and correct copy of the district court’s

Order filed June 13, 2022 in the Foris Action (Doc. No. 44) granting in part and denying in part

the defendants’ motion to dismiss.

       6.      Attached hereto as Exhibit 5 is a true and correct copy of the district court’s

Order filed August 19, 2022 in the Foris Action (Doc. No. 65) certifying the case for immediate

interlocutory appeal.

       7.      Attached hereto as Exhibit 6 is a true and correct copy of the Brief of the

Securities and Exchange Commission as Amicus Curiae filed February 10, 2023 (Doc. No. 22)

with the U.S Court of Appeals for the Ninth Circuit in the interlocutory appeal of the Foris

Action captioned Andrew E. Roth v. Foris Ventures, LLC et al, No. 22-16632 (the “Foris

Appeal”)

       8.      Attached hereto as Exhibit 7 is a true and correct copy of the Ninth Circuit Order

filed August 14, 2023 (Doc. No. 49) in the Foris Appeal staying appellate proceedings for

Amyris, Inc. only, due to the automatic stay imposed pursuant to 11 U.S.C. § 362.

       9.      Attached hereto as Exhibit 8 is a true and correct copy of the Ninth Circuit

Opinion in the Foris Appeal filed November 13, 2023 (Doc. No. 51) affirming in part, reversing

in part, and remanding in part.

       10.     Attached hereto as Exhibit 9 is a true and correct copy of the Ninth Circuit

Mandate in the Foris Appeal filed December 5, 2023 (Doc. No. 52).




                                                 2
              Case 23-11131-TMH        Doc 1197      Filed 01/23/24    Page 3 of 7




       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

Executed on: January 23, 2024
             New York, New York



                                                          /
                                                              ,Ao//4_;~Jlr~=
                                                                Glenn F. Ostrager




                                                3
            Case 23-11131-TMH         Doc 1197     Filed 01/23/24   Page 4 of 7




                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 23th day of January 2024, a true and correct copy of

the foregoing Declaration of Glenn Ostrager in Support of the Objection of Andrew E. Roth, An

Amyris Shareholder, To Confirmation of The Debtors’ Second Amended Joint Plan of

Reorganization was furnished to all ECF Participants via the CM/ECF system, and/or served via

email upon the following:

Debtors’ Counsel
Pachulski Stang Ziehl & Jones LLP
919 North Market Street, 17th Floor
Wilmington, DE 19899-8705
Attn: James E. O’Neill (joneill@pszjlaw.com) and Steven W. Golden (sgolden@pszjlaw.com);
Attn: Debra I. Grassgreen (dgrassgreen@pszjlaw.com)

Counsel to the DIP Lenders, DIP Agent and the Foris Prepetition Secured Lenders
Goodwin Procter LLP
620 Eighth Avenue
New York, NY 10018
Attn: Michael H. Goldstein (mgoldstein@goodwinlaw.com), Alexander J. Nicas
(anicas@goodwinlaw.com), and Debora A. Hoehne (dhoehne@goodwinlaw.com)

Troutman Pepper Hamilton Sanders LLP
Hercules Plaza, Suite 5100, 1313 N. Market Street
Wilmington, DE 19899
Attn: David M. Fournier (david.fournier@troutman.com)


Counsel to the Official Committee of Unsecured Creditors
White & Case LLP
111 South Wacker Drive, Suite 5100
Chicago, IL 60606-4302
Attn: Gregory Pesce, (gregory.pesce@whitecase.com) and Andrew O’Neill,
(aoneill@whitecase.com), John Ramirez, (john.ramirez@whitecase.com) and Andrea Kropp,
(andrea.kropp@whitecase.com)

Potter Anderson & Corroon LLP
1313 North Market Street, 6th Floor
Wilmington, DE 19801
Attn: Christopher M. Samis, (csamis@potteranderson.com), Katelin A. Morales,
(kmorales@potteranderson.com), Sameen Rizvi (srizvi@potteranderson.com)



                                              4
            Case 23-11131-TMH        Doc 1197     Filed 01/23/24    Page 5 of 7




Counsel to Ad Hoc Noteholder Group
Frank Merola, Esq.
PAUL HASTINGS LLP
1999 Avenue of the Stars
Los Angeles, CA 90067
Telephone: (310) 620-5700
Facsimile: (310) 620-5899
Email: frankmerola@paulhastings.com, johnstorz@paulhastings.com,
matthewfriedrick@paulhastings.com, carolinediaz@paulhastings.com

MOLOLAMKEN LLP
Steven F. Molo, Esq.
Justin M. Ellis, Esq.
Sara E. Margolis, Esq.
Mark W. Kelley, Esq.
Catherine Martinez, Esq.
430 Park Avenue
New York, NY 10022
Telephone: (212) 607-8160
Email: smolo@mololamken.com
jellis@mololamken.com
smargolis@mololamken.com
mkelley@mololamken.com
cmartinez@mololamken.com

BLANK ROME LLP
Stanley B. Tarr (DE No. 5535)
Lawrence R. Thomas III (DE No. 6935)
1201 N. Market Street, Suite 800
Wilmington, DE 19801
Telephone: (302) 425-6400
Facsimile: (302) 425-6464
Email: stanley.tarr@blankrome.com, lorenzo.thomas@blankrome.com

Counsel for U.S. Bank Trust Company, National Association, as Trustee for Convertible Senior
Notes Due 2026
GREENBERG TRAURIG, LLP
Michael B. Fisco
Eric J. Howe
Whitney A. Mark
90 South 7th Street, Suite 3500
Minneapolis, MN 55402
Telephone: 212-450-4725
Email: FiscoM@gtlaw.com
HoweE@gtlaw.com
Whitney.Mark@gtlaw.com

                                              5
             Case 23-11131-TMH         Doc 1197      Filed 01/23/24   Page 6 of 7




Ad Hoc Group of Cross-Holders
ARENTFOX SCHIFF LLP
Andrew I. Silfen
Beth M. Brownstein
1300 Avenue of the Americas, 42nd Floor
New York, New York 10000
Telephone: (212) 484-3900
Facsimile: (212) 484-3990
Email: andrew.silfen@afslaw.com
Email: beth.brownstein@afslaw.com


WOMBLE BOND DICKINSON (US) LLP
Matthew P. Ward
Ericka F. Johnson
1313 North Market Street, Suite 1200
Wilmington, Delaware 19801
Telephone: (302) 252-4320
Facsimile: (302) 252-4330
Email: matthew.ward@wbd-us.com
Email: ericka.johnson@wbd-us.com

STEARNS WEAVER MILLER WEISSLER
ALHADEFF & SITTERSON, P.A.
Eric J. Silver
150 West Flagler Street, Suite 2200
Miami, Florida 33130
Telephone: (305) 789-4175
Facsimile: (305) 789-2688
Email: esilver@stearnsweaver.com

Office of the U.S. Trustee
Office of the U.S. Trustee for the District of Delaware
844 King Street, Suite 2207
Wilmington, Delaware, 19801
Attn: John Schanne, Esq. (John.Schanne@usdoj.gov)

RICHARDS, LAYTON & FINGER, P.A.
920 North King Street
Wilmington, DE 19801
Telephone: (302) 651-7815
Email: silberglied@rlf.com
mathews@rlf.com




                                                6
            Case 23-11131-TMH        Doc 1197   Filed 01/23/24   Page 7 of 7




CYRULNIK FATTARUSO LLP
55 Broadway, Third Floor
New York, NY 10006
Telephone: (917) 353-3005
Email: jcyrulnik@cf-llp.com
pfattaruso@cf-llp.com

KTBS LAW LLP
David M. Stern
Samuel M. Kidder
Nir Maoz
1801 Century Park East, 26th Floor
Los Angeles, CA 90067
Telephone: (310) 407-4000
Facsimile: (310) 407-9090
Email: dstern@ktbslaw.com
skidder@ktbslaw.com
nmaoz@ktbslaw.com




                                           /s/ Brad deLeeuw
                                         Brad deLeeuw (DE No. 3569)
                                         deLeeuw Law LLC
                                         1301 Walnut Green Road
                                         Wilmington, DE 19807
                                         Phone: (302) 274-2180
                                         Email: brad@deleeuwlaw.com

                                         Glenn F. Ostrager (admitted pro hac vice)
                                         Joshua S. Broitman (admitted pro hac vice)
                                         Ostrager Chong Flaherty & Broitman P.C.
                                         437 Madison Avenue, 24th Floor
                                         New York, NY 10022-7034
                                         Phone: (212) 702-7041
                                         Email: gostrager@ocfblaw.com
                                                jbroitman@ocfblaw.com




                                           7
